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                           Exhibit A: Introduction and Table of Contents

                 Report of Andrew D. Martin, Ph.D. and Kyle L. Saunders, Ph.D.

                                            May 14, 2010

                           Idaho Republican Party, et al., v. Ben Ysursa

                         Response to Report of Michael C. Munger, Ph.D.

We were asked to prepare a report that responded to the materials reviewed by Professor Munger
in his report of January 21, 2010. The report is co-authored, attributing each relevant section or
paragraph using the initials [ADM] for Professor Martin and [KLS] for Professor Saunders. We have
broken our analyses into a series of free-standing exhibits. The Table of Contents that follows
provides a description of the content of each exhibit.

Andrew D. Martin is Professor and Chair, Department of Political Science, and Professor of Law,
Washington University in St. Louis. Dr. Martin is an expert on applied statistical inference,
American politics, and research design.

Kyle L. Saunders is Associate Professor of Political Science, Colorado State University. Dr. Saunders
is an expert on American politics, political parties, public opinion, voting behavior, survey research,
and research design.
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